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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

In re:                                                        Case No.: 18-11219
TyLynn Walters Moore,                                         Chapter 7
       Debtor(s).
                                              /

               CHAPTER 7 TRUSTEE’S MOTION TO SELL REAL
       PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
          AND INTERESTS PURSUANT TO 11 U.S.C. § 363(B), (F), AND (M)

       COMES NOW Yvette Gaff Kleven (the “Trustee”), duly appointed Chapter 7 Trustee for

the above-referenced debtor (the “Debtor”), and hereby files this motion (“Motion”) for entry of

an order authorizing the Trustee to sell certain real property free and clear of all liens,

encumbrances, and interests, liens to attach to proceeds.         In support thereof, the Trustee

respectfully states as follows:

                                         JURISDICTION

       1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

       2.       Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.       The basis for the relief requested is 11 U.S.C. §§ 363(b), (f), and (m), and Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                         BACKGROUND

       4.       On June 29, 2018, the Debtor commenced this case by filing a voluntary petition

for relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

       5.       Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

       6.       The Debtor own real property, by virtue of a deed, located at 932 E Paulding Rd,
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Fort Wayne, IN 46816 (the “Property”).

       7.      The Debtor scheduled the Property as having a value of $75,000.00 subject to a

mortgage in favor of Mr. Cooper (the “Secured Creditor”) in the amount owed on the Petition

Date of approximately $75,850.00.

                                     RELIEF REQUESTED

       8.      The Trustee requests the entry of an order pursuant to Section 363 of the

Bankruptcy Code approving the sale of the Property by Auction (as defined below), using the

services of ADC (as defined below), free and clear of all liens, claims, encumbrances, and interests,

liens to attach to sale proceeds. Importantly, the Secured Creditor consents to the Property’s sale

and the creation of a carve-out fund (the “Carve-Out Fund”) that will enable an opportunity for the

costs of this case to be paid and potential recovery for other creditors.

                                       BASIS FOR RELIEF

       A.      The Auction and Sale of the Property Should Be Approved

       9.      The Trustee seeks the Court’s authority to sell the Property free and clear of all

liens, claims, encumbrances, and interests, liens to attach to sale proceeds, pursuant to the Auction

procedures described below.

       10.     Pursuant to Section 363(b) of the Bankruptcy Code, a trustee, after notice and

hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary course of

business. The Court should approve the sale if the Trustee can demonstrate a sound business

justification for the sale and if the sale process is fair, open, and reasonable. See Official Comm.

Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.),

973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.




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S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the ordinary

course of business made by public auction.

       11.      The Trustee, through the services of Auction.com (“ADC”), intends to offer the

Property for sale (the “Auction”) following a 21-day multi-channel marketing campaign with

exposure on Auction.com, Trulia and Zillow. During the 21-day marketing period, Will Rogers

(the “Listing Agent”) will also list the Property on the Multiple Listing Service and hold at least

two open houses, to the extent possible. The Auction of the Property will commence after the 21-

day marketing period per the advertised and applicable start and end dates/times. If the Property

receives a bid that is sufficient to meet the reserve price, then the Property is sold to the winning

bidder. If the reserve is not met by the end of the first Auction, then ADC will advertise a second

Auction to commence one week later. If the reserve price is not met at the second auction, ADC

will advertise and commence a third Auction one week later. In summary, unless the reserve price

is met, ADC will run three consecutive Auctions in three consecutive weeks in order to provide

the Property with sufficient exposure to the marketplace. If the reserve price is not met at the third

Auction, the Secured Creditor will then utilize its right to purchase the Property by credit bid. As

part of this process, there will be auction procedures, described below, to maximize the value of

the Property.

       12.      The Auction will facilitate a sale that is in the best interest of the creditors of the

bankruptcy estate. As such, the Trustee, in the exercise of her business judgment, submits that the

sale price resulting from the Auction will be fair and reasonable.

       13.      The Trustee and ADC will use the following procedures to conduct the Auction and

sale of the Property.

                        •      Property to be Sold: The Property that is offered at the
                        Auction shall be sold pursuant to Section 363 of the Bankruptcy



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                           Code free and clear of all liens, claims, encumbrances, and interests,
                           liens to attach to proceeds.

                           •      The Auction Date: The first “Auction Date” shall not be set
                           until entry of an order by the Bankruptcy Court approving the
                           Motion to Sell. The first “Auction Date” shall be a date selected by
                           ADC that is at least 21 days following the entry of an order by the
                           Bankruptcy Court approving the retention of ADC; provided
                           however that the Auction Date may be adjourned from time to time
                           by posting a notice of adjournment on ADC’s website.

                           •        Registration Process: Each party wishing to participate in
                           the Auction shall submit an on-line registration form on the website
                           established by ADC for the Auction to qualify as a bidder. The
                           registration form shall, among other things: (i) contain such
                           information as reasonably requested by ADC to identify the
                           potential bidder; and (ii) require a credit card authorization for
                           payment of a deposit (in an amount to be determined by ADC in
                           consultation with the Trustee), which deposit will either (a) not be
                           charged, if the bidder is not the winning bidder, (b) not be charged,
                           if the bidder is the winning bidder and timely consummates the sale
                           pursuant to the Sale Documents, or (c) may be charged, if the bidder
                           is the winning bidder but fails to timely consummate the sale,
                           including fails to execute the Sale Documents promptly following
                           completion of the Auction. The Secured Creditor shall be deemed
                           to be a qualified bidder at the Auction and shall not be required to
                           submit a registration form or deposit. ADC, in consultation with the
                           Trustee, shall have the right to disqualify any potential bidder as a
                           qualified bidder if such bidder fails to complete the registration
                           process.

                           •       Bid Procedure: Prior to the commencement of the first
                           Auction Date, the Secured Creditor shall provide a written notice
                           (the “Secured Creditor Notice”) to the Trustee and ADC of the
                           amount of its credit bid pursuant to Section 363(k) of the
                           Bankruptcy Code. The Secured Creditor Notice shall also include
                           the following information: (i) a minimum purchase price for the sale
                           of the Property acceptable to the Secured Creditor (the “Reserve
                           Price”); (ii) the Secured Creditor’s initial credit bid amount to serve
                           as the opening bid for the Auction (the “Opening Bid”), which may
                           be less than the Reserve Price; and (iii) the bidding increment(s)
                           (“Bidding Increments”) for each round of bidding after the Opening
                           Bid. 1 The Bidding Increments may be adjusted upwards or

1
  If not otherwise set forth in the Secured Creditor Notice, the Reserve Price, the Opening Bid, and the initial Bidding
Increments may be established by ADC in consultation with the Trustee and the Secured Creditor; provided, however
that ADC may adjust Bidding Increments upwards or downwards during the Auction in its discretion.


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                          downwards during the Auction for each bidding round in the
                          discretion of ADC to facilitate the most competitive bidding. The
                          Secured Creditor Notice shall be the sole authorization required by
                          the Trustee and ADC to consider the submission of the Opening Bid
                          and any competing bid(s) by the Secured Creditor pursuant to
                          Section 363(k) of the Bankruptcy Code. 2

                          •      Winning Bid Amount: The “Winning Bid Amount” shall
                          be the highest or otherwise best bid selected by the Trustee and
                          ADC, consistent with the Secured Creditor Notice, during the
                          Auction.

                          •       Buyer’s Premium: In addition to the Winning Bid Amount,
                          the winning bidder shall pay a “Buyer’s Premium” equal to the
                          greater of $2,500 or five (5%) of the Winning Bid Amount, which
                          shall be paid at closing directly to ADC as its commission (the
                          “Buyer’s Premium”). ADC shall not be entitled to any other
                          compensation. No Buyer’s Premium shall be paid when the highest
                          bid is the Secured Creditor’s credit bid. ADC shall not split or
                          otherwise share the Buyer’s Premium with any other person or
                          entity. The estate shall not be responsible or obligated to pay any
                          compensation to ADC.

                          •       Total Purchase Price: The actual total purchase price
                          (“Total Purchase Price”) at closing will be equal to the Winning Bid
                          Amount plus the Buyer’s Premium.

                          •        Listing Agent’s Commission: The Listing Agent shall
                          receive up to 3% of the Winning Bid Amount for any sale that closes
                          to a third party buyer (the “Commission”). No Commission shall be
                          paid when the highest bid is the Secured Creditor’s credit bid. The
                          Listing Agent shall not be entitled to any other compensation. The
                          Listing Agent shall not split or otherwise share the Commission with
                          any other person or entity, except that if the buyer is represented by
                          a real estate agent, the Listing Agent and buyer’s real estate agent
                          may split or share the Commission by agreement. The Secured
                          Creditor agrees to pay the Commission when earned and the estate
                          shall not be responsible or obligated to pay any compensation to the
                          Listing Agent.

                          •       Carve-Out Fund: In order to provide for the payment of
                          expenses in this Chapter 7 case and to afford general unsecured
                          creditors an opportunity to participate in any recovery from the sale

2
 Without limiting the foregoing, ADC shall be authorized to increase Bidding Increments automatically during the
Auction on behalf of the Secured Creditor to the extent of the authorization provided for in the Secured Creditor
Notice.


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                           of the Property, the Secured Creditor has agreed that: (1) if the
                           Winning Bid Amount is less than the allowed amounts owing to the
                           Secured Creditor, then the Trustee will receive (a) 5% of the
                           Winning Bid Amount plus the Listing Agent’s Commission, or (b)
                           5% of the Reserve, in the event the Secured Creditor enters the
                           winning bid (collectively, the “Standard Carve-Out”); provided
                           however that the Standard Carve-Out shall never be less than
                           $7,500.00, exclusive of the Listing Agent’s Commission, nor shall
                           it exceed $50,000.00, exclusive of the Listing Agent’s Commission;
                           (2) if the Winning Bid Amount exceeds the amounts owing to the
                           Secured Creditor, then the portion which exceeds the amounts
                           owing to the Secured Creditor and any valid and substantiated junior
                           secured lienholder (the “Surplus”) shall be retained by the Trustee
                           and no carve-out shall be paid; however, if the Surplus is less than
                           the Standard Carve-Out set out above by any amount (“Short
                           Surplus Amount”) then the Secured Creditor consents to paying the
                           Trustee an amount equal to the Short Surplus Amount plus the
                           Surplus; and (3) the Trustee shall be reimbursed by the Secured
                           Creditor for any liability insurance expenses incurred by the Trustee.

                           •      Back-Up Bidder: ADC shall be authorized, but not
                           required, to accept the second highest bid submitted during the
                           Auction as a “back-up” bid in the event that the winning bidder fails
                           to consummate the sale transaction. 3

                           •      Sale Documents: Promptly following the closing of the
                           Auction, the winning bidder shall execute a sale agreement or other
                           applicable sale documents as required by the Trustee (the “Sale
                           Documents”).

         14.      Accordingly, the Trustee submits that the sale of the Property pursuant to the above

Auction process is reasonable under Section 363(b) of the Bankruptcy Code.

         B.       The Sale of the Property Should Be Approved Free and Clear of All
                  Interests

         15.      Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property

free and clear of any interest in such property in an entity other than the estate if (1) permitted

under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest



3
 Acceptance of a “back-up” bid and proceeding to consummate a transaction with the “back-up” bidder shall be
without prejudice to any claim of the Trustee against the winning bidder for failing to proceed. All rights are reserved.


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is a lien and the purchase price at which the property is to be sold is greater than the aggregate

value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or (5) the

party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a

money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

(2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and interests . . . It

thus allows purchasers . . . to acquire assets [from a debtor] without any accompanying

liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

       16.     The Trustee states that she shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests, liens to attach

to proceeds.

       17.     Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests, liens

to attach to proceeds.

       18.     The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any

HOA fees accrued post-petition or the equivalent to twelve months’ assessments; and (3) all

closing costs excluding professional fees. Any payments by the Secured Creditor as stated herein

shall be subject to any and all limitations on the Secured Creditor’s liability for any fees and costs




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under applicable law.

       C.      The Sale Will Be Undertaken by the Buyer in Good Faith

       19.     Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under Section 363(b)

was later reversed or modified on appeal.

       20.     The sale should be found to have been in good faith if the Trustee can demonstrate

the transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West

Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997)

(“Typically, the misconduct that would destroy a purchaser’s good faith status at a judicial sale

involves fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

take grossly unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke

Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a

sale was entitled to the protections of Section 363(m) of the Bankruptcy Code when it was based

upon arm’s length bargaining and without collusion).

       21.     The Trustee asserts that the sale of the Property pursuant to the Auction will utilize

a competitive and transparent marketplace that facilitates an arm’s-length sale without fraud or

collusion. Accordingly, the Trustee respectfully requests that the Court find that the purchaser(s)

will be entitled to the protections of Section 363(m) of the Bankruptcy Code.

       22.     The Trustee further states that:

               (a)      the Trustee has reviewed the tax implications of the proposed Sale;

               (b)      the Trustee has determined, based upon a review of the Debtor’s schedules

       and information derived from the 341 meeting, that there will be a meaningful distribution

       to allowed creditors based upon the understanding that the final sale price and the total




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       dollar amount of claims to be filed in this case are both unknown and can only be estimated

       at this time; and

               (c)     given the information available at this time, the Trustee has made an

       educated evaluation and determined that the proposed Sale is in the best interest of the

       estate and its creditors.

                                         CONCLUSION

       WHEREFORE, the Trustee respectfully requests that the Court enter orders approving

the sale of the Property pursuant to Section 363 of the Bankruptcy Code.

       DATED this 24th day of August, 2018.

                                             Respectfully submitted,

                                             /s/ Yvette Gaff Kleven
                                             Yvette Gaff Kleven, Trustee
                                             111 West Wayne Street
                                             Fort Wayne, IN 46802
                                             Phone: (260) 407-7077
                                             ygk@adelspergerkleven.com


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 24, 2018, the foregoing Chapter 7 Trustee’s Motion
to Sell Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests Pursuant to
11 U.S.C. § 363(b), (f) and (m) was transmitted electronically through the Bankruptcy Court’s ECF
System to:

       United States Trustee, USTPRegion10.SO.ECF@usdoj.gov
       Steven J. Glaser, Attorney at Law, glaser.bankruptcy@frontier.com

       and was served via U.S. Mail to:
       Mr. Cooper, PO Box 619098, Dallas, TX 75261
       Auction.com, LLC, 1 Mauchly, Irvine, CA 92618
       And all creditor and parties in interest listed on the attached mailing matrix


                                             /s/ Yvette Gaff Kleven
                                             Yvette Gaff Kleven, Trustee



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